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 8

 9                          UNITED STATES DISTRICT COURT

10                        CENTRAL DISTRICT OF CALIFORNIA

11                                    WESTERN DIVISION

12

13   DISH NETWORK L.L.C.,                       Case No. 2:18-cv-09768-FMO-KS

14                      Plaintiff,              JADOO DEFENDANTS’ ANSWER
                                                TO COMPLAINT
15          v.
                                                DEMAND FOR JURY TRIAL
16   JADOOTV, INC., SAJID SOHAIL, HASEEB
     SHAH, EAST WEST AUDIO VIDEO, INC.,
17   and PUNIT BHATT,

18                      Defendants.

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 1          Defendants JadooTV, Inc. (“JadooTV”) and Sajid Sohail (“Sohail”) (collectively, “Jadoo

 2   Defendants”), by and through their undersigned attorneys, respond to Plaintiff DISH Network

 3   L.L.C.’s (“Plaintiff”) Complaint (the “Complaint”) as follows:

 4                                    PRELIMINARY STATEMENT

 5          1.      Jadoo Defendants deny each and every allegation set forth in Paragraph 1.

 6          2.      Jadoo Defendants admit that in response to cease and desist letters, JadooTV

 7   denied infringement. Jadoo Defendants admit that when Plaintiff complained to JadooTV

 8   regarding certain “software files” being used with JadooTV’s set-top boxes, JadooTV denied any

 9   involvement. Except as expressly admitted herein, Jadoo Defendants deny each and every

10   allegation set forth in Paragraph 2.

11          3.      Jadoo Defendants deny each and every allegation set forth in Paragraph 3.

12          4.      Jadoo Defendants deny each and every allegation set forth in Paragraph 4.

13          5.      Jadoo Defendants deny each and every allegation set forth in Paragraph 5.

14                                               PARTIES

15          6.      Jadoo Defendants are without knowledge or information sufficient to form a belief

16   as to the truth of the allegations in Paragraph 6 and on that basis deny each and every allegation

17   contained therein.

18          7.      Jadoo Defendants admit that JadooTV is a California corporation, with its

19   principal place of business at 5880 West Las Positas Boulevard Suite 37, Pleasanton, California

20   94588. Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set
21   forth in Paragraph 7.

22          8.      Jadoo Defendants admit that Sohail is an individual residing in Pleasanton,

23   California, and that Sohail is the founder, chief executive officer, and an owner of JadooTV, Inc.

24   Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

25   Paragraph 8.

26          9.      Jadoo Defendants are without knowledge or information sufficient to form a belief
27   as to the truth of the allegations in Paragraph 9 regarding Defendant Haseeb Shah’s residence and

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 1   on that basis deny those allegations. Jadoo Defendants deny the remaining allegations set forth in

 2   Paragraph 9.

 3          10.      Jadoo Defendants are without knowledge or information sufficient to form a belief

 4   as to the truth of the allegations in Paragraph 10 and on that basis deny each and every allegation

 5   contained therein.

 6          11.      Jadoo Defendants are without knowledge or information sufficient to form a belief

 7   as to the truth of the allegations in Paragraph 11 and on that basis deny each and every allegation

 8   contained therein.

 9                                    JURISDICTION AND VENUE

10          12.      Jadoo Defendants admit that Plaintiff purports to bring claims pursuant to 17

11   U.S.C., § 101 et seq. Jadoo Defendants admit that this Court has subject matter jurisdiction over

12   this action pursuant to 28 U.S.C. §§ 1331 and 1338. Except as expressly admitted herein, Jadoo

13   Defendants deny each and every allegation set forth in Paragraph 12.

14          13.      Jadoo Defendants admit that this Court has personal jurisdiction over JadooTV and

15   Sohail. Jadoo Defendants admit that JadooTV and Sohail reside in California, and that JadooTV

16   sells Jadoo set-top boxes to consumers in the United States, including those residing in California.

17   Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

18   Paragraph 13.

19          14.      Jadoo Defendants are without knowledge or information sufficient to form a belief

20   as to the truth of the allegations in Paragraph 14 and on that basis deny each and every allegation
21   contained therein.

22          15.      Jadoo Defendants admit that JadooTV and Sohail are located in California, and are

23   subject to personal jurisdiction in California. Jadoo Defendants are without knowledge or

24   information sufficient to form a belief as to the truth of East West’s residency, and on that basis

25   deny those allegations. Jadoo Defendants deny that, for purposes of this case only, venue is

26   proper in the Central District of California under 28 U.S.C §§ 1391(b)(1), 1391(b)(2), 1391(b)(3),
27   and 1400(a), and Jadoo Defendants reserve the right to contend that the Central District of

28   California is an inconvenient forum and that the Court should transfer the action to the Northern

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 1   District of California. Except as expressly admitted herein, Jadoo Defendants deny each and

 2   every allegation set forth in Paragraph 15.

 3                                DISH’S (ALLEGED) COPYRIGHTS

 4          16.     Jadoo Defendants are without knowledge or information sufficient to form a belief

 5   as to the truth of the allegations in Paragraph 16 and on that basis deny each and every allegation

 6   contained therein.

 7          17.     Jadoo Defendants are without knowledge or information sufficient to form a belief

 8   as to the truth of the allegations in Paragraph 17 and on that basis deny each and every allegation

 9   contained therein.

10          18.     Jadoo Defendants are without knowledge or information sufficient to form a belief

11   as to the truth of the allegations in Paragraph 18 and on that basis deny each and every allegation

12   contained therein.

13          19.     Jadoo Defendants admit that Exhibit 1 to the Complaint purports to list

14   copyrighted works with registrations pending with the United States Copyright Office. Jadoo

15   Defendants admit that Exhibit 2 to the Complaint purports to list copyrighted works that do not

16   have registrations pending with the United States Copyright Office. Jadoo Defendants are

17   without knowledge or information sufficient to form a belief as to the truth of the remaining

18   allegations in Paragraph 19 and on that basis deny those allegations.

19          20.     The allegations contained set forth in Paragraph 20 consist of argument and legal

20   conclusions to which no response is required. To the extent a response is required, Jadoo
21   Defendants deny each and every allegation set forth in Paragraph 20.

22                        JADOOTV’S (ALLEGED) WRONGFUL CONDUCT

23          21.     Jadoo Defendants deny each and every allegation of the unnumbered subheading

24   above. Jadoo Defendants admit that JadooTV sells branded set-top boxes to consumers that can

25   be used to receive television channels. Jadoo Defendants admit that JadooTV sells set-top boxes

26   directly to consumers and through distributors and retailers. Except as expressly admitted herein,
27   Jadoo Defendants deny each and every allegation set forth in Paragraph 21.

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 1          22.     Jadoo Defendants admit that JadooTV promotes its set-top boxes on its official

 2   website, www.Jadootv.com. Jadoo Defendants admit that the screenshot provided in Paragraph

 3   22 of the Complaint appears similar to the JadooTV website but aver that the websites referred to

 4   in Paragraph 22 and Footnote 2 to Paragraph 22 speak for themselves and deny any

 5   characterization of those websites that is inconsistent with their meaning when they are read in

 6   their entirety and in context. Except as expressly admitted herein, Jadoo Defendants deny each

 7   and every allegation set forth in Paragraph 22.

 8          23.     Jadoo Defendants deny each and every allegation set forth in Paragraph 23.

 9          24.     Jadoo Defendants admit that JadooTV sells its Jadoo5s set-top box on

10   Jadootv.com for approximately $199. Except as expressly admitted herein, Jadoo Defendants

11   deny each and every allegation set forth in Paragraph 24.

12          25.     Jadoo Defendants admit that users of Jadoo set-top boxes can access television

13   channels through a “Live TV” menu that displays channel logos of television channels. Jadoo

14   Defendants admit that the screenshot provided in Paragraph 25 of the Complaint appears similar

15   to the user interface for a Jadoo 5s device. Except as expressly admitted herein, Jadoo

16   Defendants deny each and every allegation set forth in Paragraph 25.

17          26.     Jadoo Defendants admit that users of Jadoo set-top boxes can access additional

18   media through an “eMedia” menu that displays logos associated with the media. Jadoo

19   Defendants admit that the screenshot provided in Paragraph 26 of the Complaint appears similar

20   to the user interface for a JadooTV set-top box. Except as expressly admitted herein, Jadoo
21   Defendants deny each and every allegation set forth in Paragraph 26.

22          27.     Jadoo Defendants admit that JadooTV promotes the eMedia app as a feature of

23   JadooTV’s set-top boxes. Jadoo Defendants admit that the screenshot provided in Paragraph 27

24   of the Complaint appears similar to the JadooTV website. Except as expressly admitted herein,

25   Jadoo Defendants deny each and every allegation set forth in Paragraph 27.

26          28.     Jadoo Defendants are without knowledge or information sufficient to form a belief
27   as to the truth of the allegations in the last sentence of Paragraph 28 and on that basis deny those

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 1   allegations. Jadoo Defendants deny each and every remaining allegation set forth in Paragraph

 2   28.

 3          29.      Jadoo Defendants admit that JadooTV uses Highwinds Network Group Inc. as its

 4   content delivery network to provide televisions channels to users of JadooTV’s set-top boxes.

 5   Jadoo Defendants admit that JadooTV provides an eMedia Content XML Interface guide on its

 6   website, Jadootv.com, but aver that the document speaks for itself and deny any characterization

 7   of the document that is inconsistent with its meaning when it is read in its entirety and in context.

 8   Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

 9   Paragraph 29.

10                   A.     Jadoo5s Set-top Boxes are (Allegedly) Pre-configured to Access the

11                          Protected Channels.

12          30.      Jadoo Defendants deny the allegations in subheading A above. Jadoo Defendants

13   admit that the Jadoo 5s set-top box is JadooTV’s newest model set-top box. Except as expressly

14   admitted herein, Jadoo Defendants deny each and every allegation set forth in Paragraph 30.

15          31.      Jadoo Defendants admit that the screenshot provided in Paragraph 31 of the

16   Complaint appears similar to the user interface for a JadooTV set-top box. Except as expressly

17   admitted herein, Jadoo Defendants deny each and every allegation set forth in Paragraph 31.

18          32.      Jadoo Defendants admit that the screenshot provided in Paragraph 32 of the

19   Complaint appears similar to the user interface for a Jadoo 5s device. Except as expressly

20   admitted herein, Jadoo Defendants deny each and every allegation set forth in Paragraph 32.
21                   B.     Jadoo4 and Jadoo5 Set-top Boxes are (Allegedly) Pre-configured to

22                          Access the Protected Channels with Minimal Effort from Jadoo Users.

23          33.      Jadoo Defendants deny the allegations in subheading B above. Jadoo Defendants

24   admit that the Jadoo4 and Jadoo5 are older set-top box models than the Jadoo5S. Except as

25   expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

26   Paragraph 33.
27          34.      Jadoo Defendants deny each and every allegation set forth in Paragraph 34.

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 1          35.     Jadoo Defendants are without knowledge or information sufficient to form a belief

 2   as to the truth of the allegations in Paragraph 35 regarding the activities of unidentified “Jadoo

 3   Users” and on that basis deny those allegations. Jadoo Defendants deny the remaining allegations

 4   set forth in Paragraph 35.

 5          36.     Jadoo Defendants admit that Plaintiff sent written notices to JadooTV demanding

 6   that JadooTV remove and block SASP channels from Jadoo set-top boxes and that JadooTV

 7   responded that JadooTV had not distributed Jadoo set-top boxes containing SASP channels and

 8   that JadooTV had taken no part in encouraging or directing users of Jadoo set-top boxes to access

 9   SASP or the Protected Channels. Except as expressly admitted herein, Jadoo Defendants deny

10   each and every allegation set forth in Paragraph 36.

11          37.     Jadoo Defendants are without knowledge or information sufficient to form a belief

12   as to the truth of the allegations in Paragraph 37 and on that basis deny each and every allegation

13   contained therein.

14          38.     Jadoo Defendants are without knowledge or information sufficient to form a belief

15   as to the truth of the allegations in Paragraph 38 and on that basis deny each and every allegation

16   contained therein.

17          39.     Jadoo Defendants are without knowledge or information sufficient to form a belief

18   as to the truth of the allegations in Paragraph 39 regarding the activities of unidentified “JadooTV

19   support agents,” including the screenshot provided in Paragraph 39, and on that basis deny each

20   and every allegation contained therein.
21          40.     Jadoo Defendants are without knowledge or information sufficient to form a belief

22   as to the truth of the allegations in Paragraph 40 regarding the activities of unidentified “JadooTV

23   technical support agents,” including the screenshot provided in Paragraph 40, and on that basis

24   deny each and every allegation contained therein.

25          41.     Jadoo Defendants are without knowledge or information sufficient to form a belief

26   as to the truth of the allegations in Paragraph 41, including the screenshot provided in Paragraph
27   41, and on that basis deny each and every allegation contained therein.

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 1          42.      Jadoo Defendants are without knowledge or information sufficient to form a belief

 2   as to the truth of the allegations in Paragraph 42 and on that basis deny each and every allegation

 3   contained therein.

 4          43.      Jadoo Defendants admit that Plaintiff sent a written notice dated June 28, 2018 to

 5   JadooTV demanding that JadooTV remove and block SASP channels from Jadoo set-top boxes

 6   and that JadooTV responded that JadooTV had not distributed Jadoo set-top boxes containing

 7   SASP channels and that JadooTV had taken no part is encouraging or directing users of Jadoo4

 8   and Jadoo5 set-top boxes to access the SASP or the Protected Channels. Except as expressly

 9   admitted herein, Jadoo Defendants deny each and every allegation set forth in Paragraph 43.

10                   C.     JadooTV (Allegedly) Advertises that it Provides Access to the

11                          Television Programs that Appear on the Protected Channels.

12          44.      Jadoo Defendants deny the allegations in subheading C above. Jadoo Defendants

13   admit that JadooTV promotes its set-top boxes on its website, www.Jadootv.com. Jadoo

14   Defendants admit that the screenshot provided in Paragraph 44 of the Complaint appears similar

15   to the JadooTV website but aver that the website referred to in Paragraph 44 and Footnote 5 to

16   Paragraph 44 speaks for itself and deny any characterization of the website that is inconsistent

17   with its meaning when it is read in its entirety and in context. Except as expressly admitted

18   herein, Jadoo Defendants deny each and every allegation set forth in Paragraph 44.

19          45.      Jadoo Defendants admit that JadooTV promotes its set-top boxes on its website,

20   www.Jadootv.com. Jadoo Defendants admit that the screenshot provided in Paragraph 45 of the
21   Complaint appears similar to the JadooTV website but aver that the website referred to in

22   Paragraph 45 and Footnote 6 to Paragraph 45 speaks for itself and deny any characterization of

23   the website that is inconsistent with its meaning when it is read in its entirety and in context.

24   Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

25   Paragraph 45.

26          46.      Jadoo Defendants admit that JadooTV promotes its set-top boxes on its website,
27   www.Jadootv.com. Jadoo Defendants admit that the screenshot provided in Paragraph 46 of the

28   Complaint appears similar to the JadooTV website but aver that the website referred to in

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 1   Paragraph 46 and Footnote 7 to Paragraph 46 speaks for itself and deny any characterization of

 2   the website that is inconsistent with its meaning when it is read in its entirety and in context.

 3   Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

 4   Paragraph 46.

 5          47.      Jadoo Defendants are without knowledge or information sufficient to form a belief

 6   as to the truth of the allegations in Paragraph 47 and on that basis deny each and every allegation

 7   contained therein.

 8                   D.       JadooTV (Allegedly) Provides Infringing Video on Demand Content.

 9          48.      Jadoo Defendants deny the allegations in subheading D above. Jadoo Defendants

10   admit that users of JadooTV set-top boxes can access a video-on demand menu on the set-top

11   boxes. Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set

12   forth in Paragraph 48.

13          49.      Jadoo Defendants deny that Defendant Haseeb Shah is an agent of JadooTV.

14   Jadoo Defendants are without knowledge or information sufficient to form a belief as to the truth

15   of the remaining allegations in Paragraph 49 and on that basis deny those allegations.

16          50.      Jadoo Defendants are without knowledge or information sufficient to form a belief

17   as to the truth of the allegations in Paragraph 50 regarding a subpoena from Plaintiff to an

18   unidentified “service provider” and on that basis deny those allegations. Jadoo Defendants admit

19   that the screenshot provided in Paragraph 50 of the Complaint appears to show a photograph

20   posted to Facebook showing Sohail and Defendant Haseeb Shah pictured together among other
21   unidentified individuals at the International Broadcasting Convention held in Amsterdam on

22   September 12, 2016, and a comment on the Facebook page reads “what a team.” Except as

23   expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

24   Paragraph 50.

25          51.      Jadoo Defendants are without knowledge or information sufficient to form a belief

26   as to the truth of the allegations in Paragraph 51 and on that basis deny each and every allegation
27   contained therein.

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 1          52.     Jadoo Defendants admit that Sohail attended the International Broadcasting

 2   Convention in 2016, and that one photograph contained in Paragraph 50 of the Complaint appears

 3   to show Sohail and Defendant Haseeb Shah pictured together among other unidentified

 4   individuals at the International Broadcasting Convention held in Amsterdam on September 12,

 5   2016. Jadoo Defendants further admit that a comment on the Facebook page containing the

 6   photograph reads “what a team.” Jadoo Defendants are without knowledge or information

 7   sufficient to form a belief as to the truth of the remaining allegations in Paragraph 52 regarding

 8   Defendant Haseeb Shah, IDC Resources Pvt Ltd., and Faisal Aftab, and on that basis deny those

 9   allegations. The remaining allegations contained set forth in Paragraph 52 consist of argument

10   and legal conclusions to which no response is required. To the extent a response is required,

11   Jadoo Defendants deny those allegations. Except as expressly admitted herein, Jadoo Defendants

12   deny each and every allegation set forth in Paragraph 52.

13                  E.      JadooTV (Allegedly) Has a Long History of Copyright Infringement

14          53.     Jadoo Defendants deny the allegations in subheading E above. Jadoo Defendants

15   admit that JadooTV has received written notices from Plaintiff concerning the (allegedly)

16   Protected Channels and works aired on those channels, to which JadooTV has responded that

17   JadooTV is not committing copyright infringement. Except as expressly admitted herein, Jadoo

18   Defendants deny each and every allegation set forth in Paragraph 53.

19          54.     Jadoo Defendants are without knowledge or information sufficient to form a belief

20   as to the truth of the allegations in Paragraph 54 regarding four unidentified “people associated
21   with JadooTV” and on that basis deny each and every allegation contained therein. Jadoo

22   Defendants aver that the websites referred to in Paragraph 54 and Footnotes 8 and 9 to Paragraph

23   54 speak for themselves and deny any characterization of those websites that is inconsistent with

24   their meaning when they are read in their entirety and in context. Jadoo Defendants deny each

25   and every remaining allegation set forth in Paragraph 54.

26          55.     Jadoo Defendants admit that in 2016, JadooTV was sued in the United States in
27   the case Dunya Holdings Limited v. JadooTV Inc. and Sajid Sohail, No. 1:16-cv-05713-BMC

28   (E.D.N.Y. Oct. 13, 2016), and the complaint in that case alleged claims for trademark

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 1   infringement and copyright infringement involving a channel named Dunya TV. Except as

 2   expressly admitted herein, Jadoo Defendants deny each and every allegation set forth in

 3   Paragraph 55.

 4          56.      Jadoo Defendants deny each and every allegation set forth in Paragraph 56.

 5                              EAST WEST’S WRONGFUL CONDUCT

 6          57.      Jadoo Defendants admit that JadooTV has authorized Defendant East West to sell

 7   and promote Jadoo set-top boxes to consumers in the United States. Except as expressly admitted

 8   herein, Jadoo Defendants deny each and every allegation set forth in Paragraph 57.

 9          58.      Jadoo Defendants are without knowledge or information sufficient to form a belief

10   as to the truth of the allegations in Paragraph 58 and on that basis deny each and every allegation

11   contained therein.

12          59.      Jadoo Defendants are without knowledge or information sufficient to form a belief

13   as to the truth of the allegations in Paragraph 59, including the photograph contained in Paragraph

14   59, and on that basis deny each and every allegation contained therein.

15          60.      Jadoo Defendants are without knowledge or information sufficient to form a belief

16   as to the truth of the allegations in Paragraph 60 and on that basis deny each and every allegation

17   contained therein.

18          61.      Jadoo Defendants are without knowledge or information sufficient to form a belief

19   as to the truth of the allegations in Paragraph 61, including the photograph contained in Paragraph

20   61, and on that basis deny each and every allegation contained therein.
21          62.      Jadoo Defendants are without knowledge or information sufficient to form a belief

22   as to the truth of the allegations in Paragraph 62 and on that basis deny each and every allegation

23   contained therein.

24                                (ALLEGED) CLAIMS FOR RELIEF

25                                               COUNT I

26                   (Alleged) Direct Copyright Infringement Under 17 U.S.C. § 501
27                                 Against JadooTV, Sohail, and Shah

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 1          63.     Jadoo Defendants incorporate by reference all prior paragraphs of this Answer in

 2   response to Paragraph 63.

 3          64.     The allegations contained set forth in Paragraph 64 consist of argument and legal

 4   conclusions to which no response is required. To the extent a response is required, Jadoo

 5   Defendants are without knowledge or information sufficient to form a belief as to the truth of the

 6   allegations in Paragraph 64 and on that basis deny each and every allegation contained therein.

 7          65.     The allegations contained set forth in Paragraph 65 consist of argument and legal

 8   conclusions to which no response is required. To the extent a response is required, Jadoo

 9   Defendants are without knowledge or information sufficient to form a belief as to the truth of the

10   allegations in Paragraph 65 and on that basis deny each and every allegation contained therein.

11          66.     Jadoo Defendants deny each and every allegation set forth in Paragraph 66.

12          67.     The allegations contained set forth in Paragraph 67 consist of argument and legal

13   conclusions to which no response is required. To the extent a response is required Jadoo

14   Defendants deny each and every allegation set forth in Paragraph 67.

15          68.     The allegations contained set forth in Paragraph 68 consist of argument and legal

16   conclusions to which no response is required. To the extent a response is required Jadoo

17   Defendants deny each and every allegation set forth in Paragraph 68.

18          69.     Jadoo Defendants deny each and every allegation set forth in Paragraph 69.

19          70.     Jadoo Defendants deny each and every allegation set forth in Paragraph 70.

20          71.     Jadoo Defendants deny each and every allegation set forth in Paragraph 71.
21                                              COUNT II

22      (Alleged) Inducing and Materially Contributing to Copyright Infringement Under 17

23                                              U.S.C. § 501

24                               Against JadooTV, Sohail, and East West

25          72.     Jadoo Defendants incorporate by reference all prior paragraphs of this Answer in

26   response to Paragraph 72.
27

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 1          73.     The allegations contained set forth in Paragraph 73 consist of argument and legal

 2   conclusions to which no response is required. To the extent a response is required Jadoo

 3   Defendants deny each and every allegation set forth in Paragraph 73.

 4          74.     Jadoo Defendants deny each and every allegation set forth in Paragraph 74.

 5          75.     Jadoo Defendants admit that JadooTV sells Jadoo set-top boxes in the United

 6   States. Except as expressly admitted herein, Jadoo Defendants deny each and every allegation set

 7   forth in Paragraph 75.

 8          76.     Jadoo Defendants deny each and every allegation set forth in Paragraph 76.

 9          77.     Jadoo Defendants are without knowledge or information sufficient to form a belief

10   as to the truth of the allegations in Paragraph 77 regarding Defendant East West and on that basis

11   deny those allegations. Jadoo Defendants deny the remaining allegations set forth in Paragraph

12   77.

13          78.     Jadoo Defendants deny each and every allegation set forth in Paragraph 78.

14          79.     Jadoo Defendants deny each and every allegation set forth in Paragraph 79.

15          80.     Jadoo Defendants deny each and every allegation set forth in Paragraph 80.

16          81.     Jadoo Defendants deny each and every allegation set forth in Paragraph 81.

17          82.     Jadoo Defendants deny each and every allegation set forth in Paragraph 82.

18          83.     Jadoo Defendants deny each and every allegation set forth in Paragraph 83.

19          84.     Jadoo Defendants deny each and every allegation set forth in Paragraph 84.

20          85.     Jadoo Defendants deny each and every allegation set forth in Paragraph 85.
21                                              COUNT III

22                (Alleged) Vicarious Copyright Infringement Under 17 U.S.C. § 501

23                       Against JadooTV and Sohail (Alternative to Count I)

24          86.     Jadoo Defendants incorporate by reference all prior paragraphs of this Answer in

25   response to Paragraph 86.

26          87.     Jadoo Defendants deny each and every allegation set forth in Paragraph 87.
27          88.     Jadoo Defendants deny each and every allegation set forth in Paragraph 88.

28          89.     Jadoo Defendants deny each and every allegation set forth in Paragraph 89.

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 1           90.     Jadoo Defendants deny each and every allegation set forth in Paragraph 90.

 2           91.     Jadoo Defendants deny each and every allegation set forth in Paragraph 91.

 3           92.     Jadoo Defendants deny each and every allegation set forth in Paragraph 92.

 4           93.     Jadoo Defendants deny each and every allegation set forth in Paragraph 93.

 5                                          PRAYER FOR RELIEF

 6           94.     In response to Plaintiff’s prayer for relief, Jadoo Defendants deny each and every

 7   allegation contained therein and, further, Jadoo Defendants specifically deny that Plaintiff is

 8   entitled to any of the relief requested in the Complaint; specifically deny that Plaintiff is entitled

 9   to any injunctive relief; specifically deny that Plaintiff has been damaged by any acts of Jadoo

10   Defendants in any way or that Plaintiff is entitled to any damages, statutory damages, or profits;

11   specifically deny that Plaintiff is entitled to attorneys’ fees and costs; specifically deny that

12   Plaintiff is entitled to impoundment or disposition under 17 U.S.C. § 503; specifically deny that

13   Plaintiff is entitled to any monetary relief or any pre- and post-judgment interest; and specifically

14   deny that Plaintiff is entitled to any additional relief.

15                      AFFIRMATIVE DEFENSES OF JADOO DEFENDANTS

16           95.     Jadoo Defendants allege the following as separate and affirmative defenses to the

17   Complaint. By virtue of having listed the following defenses, Jadoo Defendants do not assume

18   any legal or factual burden not otherwise assigned to it under the law.

19                                   FIRST AFFIRMATIVE DEFENSE

20           96.     Jadoo Defendants have not engaged in any acts that would constitute direct,
21   indirect, or vicarious infringement of any valid claim of copyright, willfully or otherwise.

22                                 SECOND AFFIRMATIVE DEFENSE

23           97.     The Complaint fails to state a cause of action against Jadoo Defendants on which

24   relief may be granted.

25                                   THIRD AFFIRMATIVE DEFENSE

26           98.     Plaintiff’s claims are barred, in whole or in part, by the applicable statutes of
27   limitations.

28                                 FOURTH AFFIRMATIVE DEFENSE

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 1          99.     Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver, laches,

 2   and/or estoppel.

 3                                  FIFTH AFFIRMATIVE DEFENSE

 4          100.    Plaintiff’s claims are barred by the doctrine of unclean hands.

 5                                  SIXTH AFFIRMATIVE DEFENSE

 6          101.    Plaintiff’s claims are barred, in whole or in part, because Plaintiff lacks injury in

 7   fact and lacks standing under Article III of the U.S. Constitution.

 8                                SEVENTH AFFIRMATIVE DEFENSE

 9          102.    Any losses or damages allegedly caused by Jadoo Defendants and sustained by

10   Plaintiff are de minimis, remote, speculative, or transient and not cognizable at law.

11                                EIGHTH AFFIRMATIVE DEFENSE

12          103.    Plaintiff’s claims are barred, in whole or in part, because Plaintiff has failed to

13   mitigate any of its alleged damages.

14                                 NINTH AFFIRMATIVE DEFENSE

15          104.    Plaintiff’s claims are barred, in whole or in part, because at least certain of the

16   allegedly copyrighted material allegedly accessed is not owned by or registered to Plaintiff.

17                                 TENTH AFFIRMATIVE DEFENSE

18          105.    Plaintiff’s claims are barred, in whole or in part, because the alleged copyrighted

19   works fail to comprise copyrightable subject matter, in whole or in part, whether through the

20   doctrine of merger or otherwise.
21                              ELEVENTH AFFIRMATIVE DEFENSE

22          106.    Plaintiff’s claims are barred, in whole or in part, because the copyright

23   registrations are fraudulent, improper, or invalid.

24                               TWELFTH AFFIRMATIVE DEFENSE

25          107.    Plaintiff’s claims are barred, in whole or in part, because Jadoo Defendants

26   licensed, explicitly or implicitly, the alleged copyrighted works.
27                             THIRTEENTH AFFIRMATIVE DEFENSE

28

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 1           108.    Plaintiff’s claims are barred, in whole or in part, because the activities of Jadoo

 2   Defendants are a fair use of the alleged copyrighted works under Section 107 of the Copyright

 3   Act.

 4                                FOURTEENTH AFFIRMATIVE DEFENSE

 5           109.    Plaintiff’s claims are barred, in whole or in part, on the grounds that Plaintiff

 6   misused its copyright in violation of antitrust law and public policy.

 7                                FIFTEENTH AFFIRMATIVE DEFENSE

 8           110.    To the extent that Plaintiff’s claims of copyright infringement are directed to acts

 9   occurring wholly outside the United States, those claims for relief are barred, in whole or in part,

10   by the doctrine of territoriality.

11                           RESERVATION OF ADDITIONAL DEFENSES

12           111.    Jadoo Defendants reserve the right to assert additional defenses that they learn of

13   through discovery in this action.

14                           JADOO DEFENDANTS’ PRAYER FOR RELIEF

15           112.    Jadoo seeks the following relief:

16                   a.      That Plaintiff take nothing by the Complaint;

17                   b.      That the Complaint be dismissed with prejudice;

18                   c.      That judgement is entered in favor of Jadoo Defendants and against

19                   Plaintiff on the claims for relief alleged in Plaintiff’s Complaint;

20                   d.      That Jadoo Defendants be awarded their costs of suit and reasonable
21                   attorneys’ fees and costs in this action under 17 U.S.C. § 505, federal law, and

22                   state law;

23                   e.      That Jadoo Defendants be awarded such other and further relief as the

24                   Court deems just and proper.

25                        JADOO DEFENDANTS’ DEMAND FOR A JURY TRIAL

26           Jadoo Defendants demand a trial by jury on all issues so triable.
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 1        Dated: February 4, 2019              DARIN W. SNYDER
                                               BILL TRAC
 2                                             ASHISH SUDHAKARAN
                                               O’MELVENY & MYERS LLP
 3

 4
                                               By: /s/ Darin W. Snyder
 5                                                    Darin W. Snyder
 6                                             Attorneys for Defendants
                                               JadooTV, Inc. and Sajid Sohail
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